     Case 4:23-cv-04449                      Document 15                   Filed on 03/08/24 in TXSD                     Page 1 of 2
                                                                                                                           United States District Court
                                                                                                                             Southern District of Texas

                                                                                                                                ENTERED
                                                                                                                               March 09, 2024

                                                                           ☆
                                                                                                                             Nathan Ochsner, Clerk
UNITED STATES DISTRICT COURT                                                       SOUTHERN DISTRICT OF TEXAS
                                                                                       HOUSTON DIVISION


Sonia Vazquez,                                                                 §
             Plaintiff,                                                        §
                                                                               §
v.                                                                             §        Civil Action H-23-4449
                                                                               §
Wal-Mart Stores Texas, LLC,                                                    §
             Defendant.                                                        §

                                                            Scheduling Order

1. Trial: Estimated time to try: 4 days.                                                                       Bench          X Jury

2. New parties must be joined by:                                                                             June 7, 2024
          Furnish a copy of this scheduling order to new parties.


3. The plaintiff's experts will be named with a report furnished by:                                          July 31, 2024

4. The defendant's experts must be named with a report furnished by:                                          August 30, 2024

5. Discovery must be completed by:                                                                            October 31, 2024
          Counsel may agree to continue discovery beyond the deadline, but there will be no intervention by the Court.
          No continuance will be granted because of information acquired in post-deadline discovery.


6. Dispositive Motions will be filed by:                                                                      November 29, 2024
   Response due by:                                                                                           December 19, 2024

     Non-Dispositive Motions will be filed by:                                                                November 29, 2024

*********************** The Court will provide these dates. ***********************

7. Joint pretrial order is due:                                                                               May 30, 2025
     The plaintiff is responsible for filing the pretrial order on time.


8. Final Pretrial Conference is set for 1:30 p.m. on:                                                         June 30, 2025

9. Jury Selection is set for 9:00 a.m. on:                                                                    July 14, 2025
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The case will remain on standby until tried.

                 Signed this the 8th day of March, 2024.


                                               ___________________________________
                                               Peter Bray
                                               United States Magistrate Judge
